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                                CLERK’S OFFICE
                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
                            WASHINGTON, D.C. 20001



UNITED STATES OF AMERICA            :
                                    :
vs.                                 :
                                    :     No. 21-CR-254
FRANK SCAVO,                        :
                                    :
             Defendant              :
                                    :

                            ENTRY OF APPEARANCE
                               (PRO HAC VICE)

TO: ANGELA CAESAR, Clerk


        YOU ARE HEREBY NOTIFIED THAT I CO-APPEAR FOR THE DEFENDANT

INDICATED ABOVE IN THE ENTITLED ACTION.



        I AM APPEARING IN THIS ACTION AS PRIVATE CO-COUNSEL, PRO HAC

VICE.




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